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Attorney I. D. No.: 42470
15A West Tenth Street
Marcus Hook, PA 19061
(610) 485-3200                                        Attorney for Plaintiff

                     1In the United States District Court
                    of the Eastern District of Pennsylvania

Sixth Angel Shepherd Rescue Inc.        :
                                        :             No. 10-1733
                                        :
             vs.                        :
                                        :
Pennsylvania SPCA                       :
     ET AL.                             :


                                   ORDER


      AND NOW, to wit, this    day of       , 2013, it is hereby ORDERED and

DECREED that Plaintiff’s counsel is awarded the sum of        .




                                __________________________
                                THE HONORABLE BERLE .M. SCHILLER




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               PLAINTIFF’S PETITION FOR ATTORNEYS’ FEES


       1. Plaintiffs filed suit in the above to remedy the Defendants’ actions in

taking their property in April 2010 consisting of three (3) dogs who were present

on a transport arriving in Pennsylvania on April 10, 2010.

       2. The Plaintiff Sixth Angel Shepherd Rescue Inc., a non profit dog

rescue facility duly licensed in Pa Lic. 5245 and at the time operating in Marcus

hook Pa. Had rescued three dogs from areas of North Carolina on April 1, 2010.

Despite having health certificates and proper veterinary records on the dogs The

Pa Department of Dog Law Enforcement stopped the transport and cited the

transporter for various things.

       3. There were a number of rescues using this transport and while the

transporter was new to everyone the rescues did nothing objectionable.

       4. On the evening of April 10, 2010 Dog Law called the Pa SPCA to pick


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up and examine the dogs who Dog Law stated could then be reclaimed by the

rescues by contacting the Pa SPCA.

        5. The Pa SPCA retained all of the dogs and the records arriving with

them including the health certificates, bills for boarding and transport, logs and

transport records.

        6. Plaintiffs attempted to retrieve their dogs but was refused by the PA

SPCA. Plaintiffs filed suit for Civil Rights as well as conversion and bailment for

taking care of their dogs and for their prompt return.

        7. Because the Pa SPCA had taken the dogs at the behest of Dog Law

who spuriously cited Silva (which citation was then withdrawn) the Pa SPCA and

its officers were acting under color of state law in withholding them (impounding

them as “evidence” according to Loughlin) and deprived Plaintiff of its property in

violation of its civil rights.1

        8. Plaintiff’s counsel was hired by Plaintiff at the rate of $350.00 per hour

plus litigation costs.

        9. The Plaintiff filed a complaint and Motion for Temporary Restraining

Order as well as Preliminary and Permanent Injunctions complete with Exhibits

and Briefs.

        10. Plaintiffs prepared for and attended a hearing presenting and

cross-examining witnesses.


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 Plaintiff sent to the Pa SPCA two (2) Requests for Production as well as numerous
letters for self-disclosures on the issue of state action, but counsel for PaSPCA never
responded at all and in fact seized the attorney’s computer bearing the written materials
and certain written documents for filing making a motion to produce the discovery
impossible. This Court directed Plaintiff’s counsel file the petition for attorney’s fees.
which she now does.


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      11. The Plaintiff first received a TRO to maintain the dogs as safe and then

were awarded injunctive relief to return its property by June 1, 2010. Instead of

returning the dogs the Defendants filed a last second appeal and without seeking

a stay stood up the volunteers and counsel.

      12. The Defendants then did seek a stay, which was opposed by Plaintiff.

      13. Plaintiff again prevailed now on the issue of stay.

      14. Defendants fully briefed the appellate issues.

      15. Plaintiff fully briefed in response.

      16. Plaintiffs prevailed.

      17. Attached is Plaintiff’s counsel’s bill for services related to the above

services as described. Plaintiff’s counsel was hired at the rate of $350 per hour

plus costs. The efforts made not related to the Injunction (such as the denied

attempt to amend the complaint and the second litigation filed against the State)

have been removed from the billing.

      18. Plaintiff’s counsel has been approved for fee petition recovery in this

Court in several matters including James v. Koch et al. (EDPa 97-1663)(civil

rights - Fullam), SNA, Inc. v. Array (97-7158 and 97-3793)(Unfair Trade Practices

- Katz), Sparks v. Duckrey et al (05-2178)(ERISA- McGovern); Beale v. Aardvark

(00-413)(Bad Faith Civil Rights - J. Weiner), Horizon Unlimited, Inc. v. SNA Inc.

(97-3793 – Shapiro) and will provide additional information/affidavits should there

be an issue.

      19. Plaintiff was the prevailing party and is entitled to 42 USC 1988 award




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of attorney’s fees in the amount of $75,495.00 and costs of $4,420.00 on the

underlying case.

      WHEREFORE, Plaintiff’s counsel requests an entry of an award of

attorney’s fees and costs in the above.




                           _____________/s/_________________
                           TERRY ELIZABETH SILVA, ESQUIRE
                           ATTORNEY FOR PLAINTIFF
DATE: 5/29/13




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                              Certificate of Service

       I Terry Elizabeth Silva, Esquire, certify that I have this day of May, 2013,
       served by United States First Class Mail a copy of the within document
       upon the following:

Kevin McNulty, Esquire
Suite 1400
121 South Broad Street
Philadelphia, PA 19107


                                  ______________/s/______________
                                  TERRY ELIZABETH SILVA, ESQUIRE
Date: 5/29/13




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                   EXHIBIT “1”




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